Case 1:21-cr-00222-TFH Document 18 Filed 04/20/21 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

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UNITED STATES OF AMERICA
NOTICE OF MOTION
— against —
JULIAN ELIE KHATER, Docket No. 21-CR-00222 (TFH)
Defendant.
ee “4

PLEASE TAKE NOTICE, that upon the annexed declaration of Chad Seigel, Esq., attomey for
defendant Julian Khater, dated April 20, 2021, the accompanying memorandum of law, and upon
all papers and proceedings heretofore had herein, the undersigned will move this Court before the
Hon. Thomas F. Hogan, United States District Judge, at the United States District Court, 333
Constitution Ave. NW, Washington, D.C. 20001, at a date and time to be fixed by the Court, for
an Order:

Granting defendant Julian Khater release pending trial, pursuant to 18 U.S.C. § 3142,
together with such other and further relief as this Court may deem just and proper.
Dated: New York, New York

April 20, 2021

YOURS, ETC.

JOSEPH TACOPINA, ESQ.

CHAD SEIGEL, ESQ.

Tacopina Seigel & DeOreo

Attomeys for Defendant Julian Khater
275 Madison Avenue, 35" Floor

New York, N.Y. 10016

Tel: (212) 227-8877
TO:

Case 1:21-cr-00222-TFH Document 18 Filed 04/20/21 Page 2 of 2

Clerk of the Court

United States District Court
for the District of Columbia
United States District Court
333 Constitution Ave. NW
Washington, D.C. 20001

Hon. Thomas F. Hogan
United States District Court
for the District of Columbia
United States District Court
333 Constitution Ave. NW
Washington, D.C. 20001

AUSA Anthony F. Scarpelli
AUSA Gilead I. Light

U.S. Attorney’s Office

for the District of Columbia
555 Fourth Street, NW
Washington, D.C. 20530

ALVIN H. THOMAS , JR., ESQ.

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